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is that right?
A I believe so.
Q Okay. Is it 10 percent every year?
A Yes.
Q And then after 10 years, you're 100
percent vested?
A Correct.

Q So how many years did you work at AIL?

A Nine.

 

MR. WEBB: Yeah. Amy, just to the extent

 

 

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we're going to talk about the separation -- any
separation agreement, like I indicated in my
discovery responses, I would just ask that you
guys sign a protective order -- stipulation for a
motion for protective order on that.
MS. WILLIAMSON: Okay. Do you want to do
that now?
MR. WEBB: I mean, we can. I was going
to -- I signed the one that Gene sent over. I
mean, it's going to have the same terms as that
one. So, I mean, if you want me to --
THE WITNESS: Can I use the restroom real
quick while you guys do that?
MS. WILLIAMSON: Yeah. Sure. We don't --
I think -- nothing is pending, right? There's not
a question pending.
(Recess. )
BY MS. WILLIAMSON:
Q Okay. I am going to jump back a minute
here. Do you have any Snapchat accounts?
A Yes, yes. I do have a Snapchat account.
Q I don't know what the right lingo is.
What's the profile name or account name?
A I think it's something ridiculous that I

made like 10 years ago. It's Tree Table Chair,

 

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agency --

Q Okay. So you --

A -- get leads, and don't talk to her.

Q Okay.

A I said okay.

Q So where -- what was your understanding of
where -- who she would be coded to at that point?

A The agency.

Q Excuse me. I thought it had to be some
individual.

A No. You could be coded to the agency,
like, just a floater under Simon.

Q I see. Okay, okay. And then did you talk
to Simon about the incident going forward?

A No.

QO Not at all?

A Not until he flew to Portland the day that
I parted ways with AIL.

Q Okay. You never had any further
conversations with him about it?

A Not that I can recall.

Q Okay. How about with Natalie Price?

A Yes. She sent me over an incident report
to sign, which I did not sign because it was BS.

Q Did you produce that to your attorneys?

 

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A I don't have access to it anymore. They
wiped my Arias account. That's where it was.

Q When you say it was BS, why do you say
that?

A Well, the message that she produced wasn't
what was said. So the incident report was worded
in such a way, Hey, I did this. I regret my
actions. I understand the disciplinary action
being taken against me. Sign here. And I said I
didn't say that, so I'm not signing this.

Q Okay. Did Natalie -- strike that.

Is Natalie Price the Natalie D'Achille the

same person?

A Yes.

Q Okay. Did she -- did Natalie ask for a
statement from you about the -- about what Renee
reported?

A Yes. I believe so.

Q Okay. Was that something that was
recorded?

A I think I typed something up and sent it
over.

Q Okay. Do you still have that?

A Like I said, they wiped my e-mail in

February. So that's all --

 

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Q Okay. I didn't know if you saved it to,
like, a personal account or anything.

A I honestly didn't realize it was going to
come to this.

Q Right.

A I never saw Renee doing this ever ina
million years, ever. It wasn't even a concern to
me. I thought she was just mad because I kicked
her off -- removed her from me working with her.

Q Okay.

A I thought she was just mad, you know.
This was her way of getting back at me. I had no
reason to save anything.

Q Gotcha. Did Natalie ask you for any --
any documents or information other than the
statement?

A No.

Q Did anybody else at Arias ask you for
additional information?

A No.

Q Did Natalie contact anybody else at Arias
about the incident?

A Not to my knowledge.

Q Okay. How did you communicate back to

Natalie that you thought the incident report was

 

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